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8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )
                                    )          CR. No. S-04-0104 DFL
12                  Plaintiff,      )
                                    )          [proposed] ORDER
13             v.                   )
                                    )
14   MARK STEVEN ERCKERT,           )
                                    )
15                  Defendant.      )
     _______________________________)
16
17        On February 16, 2006, this matter came before the Court for a
18   hearing on the defendant’s motion for information concerning a
19   confidential informant.     The United States was represented by
20   Assistant U.S. Attorney Philip A. Ferrari; the defendant was
21   represented by Krista Hart, Esq.
22        The government has represented that it will disclose the
23   identity of the confidential informant, as well as any related Brady
24   materials, immediately following the trial confirmation hearing.
25   The government has also represented that it will contact the
26   confidential informant forthwith and convey the defendant’s interest
27   in contacting the confidential informant.        The government will offer
28   to relay contact information to the defendant if the confidential

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1    informant consents.
2         In light of the foregoing representations, the defendant’s
3    motion is DENIED.
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     Date: 2/24/2006
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8                                           DAVID F. LEVI
                                            United States District Judge
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